         Case 2:05-cv-00881-JAM-DAD Document 26 Filed 11/16/07 Page 1 of 2


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 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ANDREW WASHINGTON, JR., by and          No. Civ. S-05-0881 RRB GGH
     through his guardian ad litem,
12                                              Memorandum of Opinion
     Alejandra Raya,
                                                      and Order
13
              Plaintiff,
14
         v.
15

16   TASER INTERNATIONL, INC., and
     DOES 1 through 50,
17
              Defendants.
18
     ______________________________/
19
          Before   the     court   is    Plaintiff     Andrew    Washington’s
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     (“Plaintiff”) motion for leave to amend the operative Complaint
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22   to add five new defendants and several new causes of action

23   against these defendants.1      Defendant Taser International, Inc.
24
     (“Taser”) opposes the motion.
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          1
            Inasmuch as the Court concludes the parties have submitted
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     memoranda thoroughly discussing the law and evidence in support
28   of their positions, it further concludes oral argument is
     neither necessary nor warranted with regard to the instant
     matter. See Mahon v. Credit Bureau of Placer County, Inc., 171
                                         1
         Case 2:05-cv-00881-JAM-DAD Document 26 Filed 11/16/07 Page 2 of 2


 1           After    carefully    considering       the   papers   submitted   by   the
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     parties in this matter, the court concludes that Taser did not
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     overcome Rule 15(a)’s presumption in favor of granting leave to
 4
     amend     because    it      failed   to       sufficiently    demonstrate      that
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 6   amendment: (1) would cause undue prejudice; (2) is sought in bad

 7   faith; (3) would produce an undue delay in litigation; or (4) is
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     futile. See       Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d
 9
     1048,     1052    (9th    Cir.    2003);       Amerisource     Bergen   Corp.    v.
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     Dialysist West, Inc., 465 F.3d 946, 951 (9th Cir. 2006).
11

12           Accordingly, it is hereby ordered that leave to amend the

13   Complaint, pursuant to Rule 15(a), is GRANTED.                   Plaintiff is to
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     file his amended complaint within ten (10) days of service of
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     this order.
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             IT IS SO ORDERED.
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18           ENTERED this 15th day of November, 2007.

19                                                   s/RALPH R. BEISTLINE
                                                     United States District Judge
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     F.3d 1197, 1200 (9th Cir. 1999)(explaining that if the parties
28   provided the district court with complete memoranda of the law
     and evidence in support of their positions, ordinarily oral
     argument would not be required).
                                                2
